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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                  November 2, 2020
                                  The November 4 pretrial conference is hereby adjourned to
BY ECF                            December 18, 2020, at 11:30 a.m. Speedy trial time is excluded
                                  from November 4, 2020, until December 18, 2020, in the interest
Honorable Edgardo Ramos           of justice.
United States District Judge
Southern District of New York     SO ORDERED.
40 Foley Square
                                                                                   11/5/2020
New York, NY 10007

       Re: United States v. Luis Parrales, et al., 19 Cr. 663 (ER)

Dear Judge Ramos:

         The Government writes on behalf of all parties respectfully to request a forty-five day
adjournment of the pretrial conference scheduled for November 4, 2020, at 11:00 a.m. The
requested adjournment is necessary for the parties to continue and complete discussions regarding
pretrial dispositions. The requested adjournment will also allow defendant Carlos Parrales’s newly
retained counsel (see Dkt. Nos. 70, 72) to review discovery.          For the same reasons, the
Government further requests, without objection from the parties, that time be prospectively
excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), between November 4, 2020 and
the date of the next pretrial conference.


                                             Very truly yours,

                                             AUDREY STRAUSS
                                             Acting United States Attorney


                                         by: _____________________________
                                             Nicholas W. Chiuchiolo
                                             Assistant United States Attorney
                                             (212) 637-1247




cc: all counsel of record (ECF)
